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1                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
2                                      ATLANTA DIVISION
3        DONNA CURLING, et al.,
4                    Plaintiffs,
                                                       CIVIL ACTION FILE
5              vs.
                                                       NO. 1:17-CV2989-AT
6        BRAD RAFFENSPERGER, et
         al.,
7
                     Defendants.
8        ______________________
9
10                             VIDEOTAPED DEPOSITION OF
11                                ANDREW W. APPEL, Ph.D.
12                        TAKEN BY REMOTE VIDEOCONFERENCE
13
14                                     January 27, 2022
15                                           7:33 a.m.
16
17
18
19
20
21      REPORTED REMOTELY BY:
22      LAURA R. SINGLE, CCR-B-1343
23
24
25

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                       (Coalition for Good Governance)
19
20                     Krishan Patel, Videographer
                        (Veritext Legal Solutions)
21
22
23
24
25

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18                            evidence of computer fraud
                              in the 2020 election
19                            outcome, but policymakers
                              must work with experts to
20                            improve confidence
21
22
23
24
25

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1       it's malfunctioning because it's been hacked to
2       cheat, it may well print on to the ballot summary a
3       candidate selection that completely disagrees with
4       the voter's intent as the voter expressed it in
5       touching the touch screen.             So in that case the
6       voter's intent would be absolutely not clear in the
7       ballot summary.
8              Q.    Got it.
9                    So the only time where you disagree with the
10      voter's intent being clear is with respect to a
11      malfunctioning BMD whether because of hacking or
12      other reasons?       Is that accurate?
13             A.    That's right.
14             Q.    Okay.     So let's go back to Exhibit 3, and
15      that would be your July -- the date of June 28, 2021.
16      I apologize.      I will mix those up.               I refer to them
17      as July because that's when they were served to us --
18             A.    Got it.
19             Q.    -- just so -- so if you'll scroll with me to
20      paragraph 12.
21             A.    Got it.
22             Q.    You state there:          I've not been asked to
23      perform a forensic cyber security examination of any
24      specific voting machine.
25                   Do you see that?

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1              A.    Yes.
2              Q.    And is that still accurate?
3              A.    Yes.
4              Q.    Have you performed any other type of
5       examination of a specific voting machine for your
6       report in this case?
7              A.    In this case, no.
8              Q.    Okay.     Of course, you've looked at many
9       different voting machines, many different kinds of
10      examinations.        Would that be right?
11             A.    I have performed some examinations of
12      specific voting machines myself, and I have read the
13      scientific literature for detailed descriptions of
14      other examinations of other voting machines, yes.
15             Q.    Okay.     And have you read the scientific --
16      excuse me.      I'm going to strike that.            There's a fire
17      truck passing.        I apologize.
18                   Have you read the scientific literature or
19      any other reports as it relates to the Dominion
20      voting machines utilized in Georgia?
21             A.    I've read various things about the Dominion
22      machines, but I have not read a cyber security
23      examination report for those machines.
24             Q.    What kind of things have you read about the
25      machines?

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1               A.   I've read the Dominion literature.              I may
2       have read the independent test lab report.                 I may
3       have interviewed people who have used similar types
4       of Dominion machines in other states.
5               Q.   When you say interviewed people, who did you
6       interview?
7               A.   Most recently I talked to a voter in Camden
8       County, New Jersey, who used a similar machine in
9       2019.
10              Q.   Just a general voter you found?
11              A.   She had contacted me because she was
12      interested in Camden County's selection process for
13      voting machines.
14              Q.   Do you recall this person's name?
15              A.   Rena, R-E-N-A, and I can't recall her last
16      name at the moment.
17              Q.   That's okay.
18                   So in light of not performing any
19      examination of the machines utilized in Georgia, you
20      don't feel that prevents you from offering your
21      opinions in here; is that right?
22              A.   That's right.
23              Q.   Okay.    And sort of related to the not
24      examining machines, have you examined any other
25      election system adjacent items utilized in Georgia?

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1       And by that I mean items like the voter registration
2       database or the IT infrastructure of the Secretary of
3       State's office?
4              A.    No.
5              Q.    And with respect to specific voting machine,
6       would that include the poll pads used for voter
7       check-in?
8              A.    I have not examined those.
9              Q.    Okay.    So if you'll scroll with me to
10      paragraph 20.
11             A.    Yes.
12             Q.    And you say there:            It is a clear scientific
13      consensus that any computer-based voting machine can
14      be hacked.
15                   Do you see that?
16             A.    Yes.
17             Q.    Do you understand any expert in this case to
18      disagree with you on that statement?
19             A.    No.
20             Q.    So you go on in paragraph 21 to say:               It is
21      a clear scientific consensus that the only practical
22      solution to this problem (that is secure enough for
23      use in public elections) is to mark votes on
24      voter-verified paper ballots that can be recounted or
25      audited by hand.

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1              Q.    Have you seen reports of that for the
2       Dominion equipment used in Georgia?
3              A.    No.
4              Q.    Okay.     So accepting that first sentence of
5       42 applies to ballot-marking devices with the caveats
6       you described there, right?
7              A.    Right.
8              Q.    With the second sentence saying, therefore,
9       it is reasonable, would that not similarly apply to
10      ballot-marking devices?
11             A.    No.     In the paragraphs starting at 43, 44,
12      and following explain why.
13             Q.    Okay.     If you'll turn with me to paragraph
14      67.
15             A.    All right.
16             Q.    And here in this paragraph you're talking
17      about a hypothetical hacker that has installed
18      fraudulent software in a BMD, right?
19             A.    Right.
20             Q.    Have you seen fraudulent software installed
21      in a BMD that switches votes?
22             A.    No.
23             Q.    Are you aware of any such fraudulent
24      software?
25             A.    That has been used in actual elections, no.

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1       this, right?
2               A.     Yes.
3               Q.     Okay.   Are you aware of fraudulent software
4       like that that self-propagates to multiple BMDs?
5               A.     Yes.
6               Q.     And where is that?
7               A.     The concept of fraudulent software that
8       propagates on removable media from one computer to
9       another, not specifically in the context of
10      elections, was first explained to me in approximately
11      1979.        And the first demonstration of this on actual
12      voting machines was done by a scientific study at
13      Princeton University in -- published in 2006 where it
14      was done on the exact model of voting machine that
15      was in use in Georgia between about that time and
16      2018.
17              Q.     So I think my question was a little more
18      specific to that as to BMDs.              Are you aware of such
19      software existing?
20              A.     Am I aware that someone has created any such
21      software specifically for a BMD, no.
22              Q.     Okay.   And in that Princeton study you were
23      referring to, how did that fraudulent software
24      self-propagate?
25              A.     It propagated on the removable media that

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1       efficient method a hacker could use is to do it one
2       machine at a time by a screwdriver.
3              Q.    We just discussed that you're not aware of
4       both self-propagating and adaptable malware, right?
5              A.    I'm aware of how straightforward it is in
6       principal to build each of those and combine them
7       together.     I am not aware of a hacker who has done
8       that to an actual BMD.
9              Q.    Whether in a lab or in an actual election,
10      right?
11             A.    Right.
12             Q.    So if you're not aware of it, let's talk
13      about what we know you are aware of, which is
14      individually adaptable but not self-propagating,
15      right?
16             A.    Yeah.
17             Q.    Okay.    So that would require access to
18      individual BMDs; would it not?
19             A.    If it's not self-propagating.
20             Q.    Okay.
21             A.    Well, there's self-propagating and -- yeah.
22      All right.     If you want to -- if you want to talk
23      about malware that does not propagate by means of
24      network server removable media, that would require
25      access to individual BMDs.

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1              Q.    I'm trying to use the same terminology
2       you --
3              A.    Yeah.    I'm not aware of a specific piece of
4       malware that is both self-propagating and adaptable,
5       but there is no scientific difficulty in combining
6       those two concepts into the same piece of malware.
7              Q.    Okay.    But you've never done it?
8              A.    I've never done it.
9              Q.    And you're not aware that anybody has ever
10      done it, right?
11             A.    Right.
12             Q.    Okay.    So accepting that, let's talk about
13      what we are aware of, which is adaptable but not
14      self-propagating, right?
15             A.    We can talk about adaptable but not
16      self-propagating malware.
17             Q.    So do you have -- going back to the
18      seven-minute timeframe, do you have any reason to
19      believe implanting that adaptable but not
20      self-propagating malware into a BMD would take any
21      shorter or longer time than what it took you to
22      implant it on this --
23             A.    I would expect it would take a shorter time.
24      The seven minutes it took me to install the malware
25      in a Sequoia AVC Advantage BMD required, you know,

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1                                    CERTIFICATE
2       STATE OF GEORGIA:
3       COUNTY OF GWINNETT:
4                      I hereby certify that the foregoing
        transcript was taken down, as stated in the caption,
5       and the colloquies, questions and answers were
        reduced to typewriting under my direction; that the
6       transcript is a true and correct record of the
        evidence given upon said proceeding.
7                      I further certify that I am not a
        relative or employee or attorney of any party, nor am
8       I financially interested in the outcome of this
        action.
9                      I have no relationship of interest in
        this matter which would disqualify me from
10      maintaining my obligation of impartiality in
        compliance with the Code of Professional Ethics.
11                     I have no direct contract with any
        party in this action and my compensation is based
12      solely on the terms of my subcontractor agreement.
                       Nothing in the arrangements made for
13      this proceeding impacts my absolute commitment to
        serve all parties as an impartial officer of the
14      court.
                       This the 13th day of February, 2022.
15
16
17                       <%12314,Signature%>
18
                                  ____________________________
19
                                  LAURA R. SINGLE, CCR-B-1343
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